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                   UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
                  Criminal No. 15-86(2)(DSD/JSM)

Ornella Angelina Hammerschmidt

                Defendant,

v.                                                            ORDER

United States of America,

                Plaintiff.


     This matter is before the court upon the appeal by defendant

Ornella Angelina Hammerschmidt to the August 11, 2015, order of

United States Magistrate Judge Janie S. Mayeron.              The order denies

Hammerschmidt’s motion to delete language in the indictment as

irrelevant or unfairly prejudicial.

     The standard of review applicable to an appeal of a magistrate

judge’s order on nondispositive discovery matters is “extremely

deferential.”   Reko v. Creative Promotions, Inc., 70 F. Supp. 2d

1005, 1007 (D. Minn. 1999).       The court will reverse such an order

only if it is clearly erroneous or contrary to law. 28 U.S.C. §

636(b)(1)(A); D. Minn. LR 72.2(a)(3).        After a thorough review of

the file and record, the court finds that the order is neither

clearly erroneous nor contrary to law.

     Hammerschmidt argues that the magistrate judge erred in not

striking   language    from   the     indictment      stating         that    she

misrepresented to prospective clients that she was an attorney.

The court should strike language in the indictment “only where it

is clear that the allegations contained therein are not relevant to
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the charge made or contain inflammatory and prejudicial matter.”

United States v. Figueroa, 900 F.2d 1211, 1218 (8th Cir. 1990)

(quoting Dranow v. United States, 307 F.2d 545, 558 (8th Cir.

1962)).    The language in question is neither inflammatory nor

prejudicial.     Rather, it simply explains the manner in which

Hammerschmidt attracted clients necessary to the fraudulent scheme

alleged.     Although Hammerschmidt is correct that her alleged

deception with respect to her professional status is not a required

element of the offense charged, it explains the means by which she

committed the alleged offense and is therefore properly contained

in the indictment.   See United States v. Dahl, No. 13-139, 2013 WL

5487467, at *2 (D. Minn. Oct. 1, 2013) (holding that “because the

Indictment’s use of the term ‘scheme’ is consistent with the

Government’s theory of the case and what it intends to prove at

trial, the term is not irrelevant or unduly prejudicial and will

not be stricken from the Indictment”).

     Accordingly, IT IS HEREBY ORDERED that:

     1.     The order [ECF No. 82] is adopted in its entirety; and

     2.     Defendant’s appeal of the order [ECF No. 86] is denied.


Dated:    September 8, 2015

                                       s/David S. Doty
                                       David S. Doty, Judge
                                       United States District Court




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